                                                                     Case 4:15-cv-05734-CW Document 103 Filed 03/22/17 Page 1 of 2



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                                               M ENLO P ARK




                                                              13   Yvonne Edith Maria Schumacher
                                  A TTORNEYS




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                                                              15                                  UNITED STATES DISTRICT COURT
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                                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                              17
                                                                                                          OAKLAND DIVISION
                                                              18

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                                                                   YVONNE EDITH MARIA                             Case No. 4:15-cv-05734-CW
                                                              20   SCHUMACHER,
                                                                                                                  NOTICE OF SETTLEMENT
                                                              21                     Plaintiff,

                                                              22          v.
                                                                                                                  Judge:       Hon. Claudia Wilken
                                                              23   AIRBNB, INC., et al,
                                                                                                                  Ctrm:        2 – 4th Floor
                                                              24                     Defendants.

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                                                                                                                                         NOTICE OF SETTLEMENT
                                                                                                                                       CASE NO. 4:15-CV-05734 CW
                                                                      Case 4:15-cv-05734-CW Document 103 Filed 03/22/17 Page 2 of 2



                                                               1           Plaintiff Yvonne Edith Maria Schumacher and Defendants Airbnb, Inc., Fariah Hassim, and

                                                               2   Jamil Jiva (collectively, the “Parties”) hereby notify the Court that they have reached a settlement

                                                               3   in the above-referenced action. The Parties intend to file a stipulated notice of dismissal with

                                                               4   prejudice within forty-five (45) days of the filing of this Notice.

                                                               5                                                             Respectfully submitted,
                                                               6
                                                                    March 21, 2017                                          THE JACKSON LAW FIRM, P.A.
                                                               7
                                                                                                                            By: /s/ Michael R. Jackson
                                                               8
                                                                                                                               Michael R. Jackson
                                                               9
                                                                                                                                Attorney for Plaintiff
                                                              10                                                                YVONNE SCHUMACHER

                                                              11    March 21, 2017                                          SACKS RICKETTS & CASE
M C D ERMOTT W ILL & E MERY LLP




                                                              12
                                                                                                                            By: /s/ Michele Floyd
                                  A T L AW
                                               M ENLO P ARK




                                                              13                                                                 Michele Floyd
                                  A TTORNEYS




                                                              14                                                                Attorney for Defendant
                                                                                                                                AIRBNB, INC.
                                                              15
                                                                    March 21, 2017                                          McDERMOTT WILL & EMERY LLP
                                                              16

                                                              17                                                            By: /s/ A. Marisa Chun___________
                                                                                                                                  A. Marisa Chun
                                                              18
                                                                                                                                Attorney for Defendants
                                                              19                                                                FARIAH HASSIM and JAMIL JIVA

                                                              20
                                                                                                              ATTESTATION
                                                              21
                                                                             Pursuant to Civil Local Rule 5-1, I, A. Marisa Chun, attest that all signatories listed, and
                                                              22
                                                                   on whose behalf the filing is submitted, concur in the content of this Notice of Settlement and
                                                              23
                                                                   have authorized the filing of the same.
                                                              24
                                                                                                                          /s/ A. Marisa Chun
                                                              25
                                                                                                                          A. Marisa Chun
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                                                                                                                                               NOTICE OF SETTLEMENT
                                                                                                                    -1-                      CASE NO. 4:15-CV-05734 CW
